JS 44 (Rev. 10/20)               Case 2:21-cv-04770-MSG
                                                   CIVILDocument
                                                        COVER 1SHEET
                                                                 Filed 10/29/21 Page 1 of 10
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                       DEFENDANTS
       Brandon Grisoff, 158 LANDING DRIVE                                                               Seaworld Parks & Entertainment LLC,
       DEPTFORD TOWNSHIP NJ 08096                                                                       6240 SEA HARBOR DRIVE, ORLANDO FL 32821
   (b) County of Residence of First Listed Plaintiff Gloucester                                         County of Residence of First Listed Defendant Orange
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                               (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                        NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                   THE TRACT OF LAND INVOLVED.

   (c)   Attorneys (Firm Name, Address, and Telephone Number)                                            Attorneys (If Known)
      Jeffrey Campolongo, Law Office of Jeffrey Campolongo,
      300 Conshohocken State Road, Suite 180 West
      Conshohocken, PA 19428
II. BASIS OF JURISDICTION (Place an “X” in One Box Only) III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                     (For Diversity Cases Only)                                    and One Box for Defendant)
  1    U.S. Government                 3   Federal Question                                                                   PTF        DEF                                         PTF      DEF
         Plaintiff                           (U.S. Government Not a Party)                     Citizen of This State            1          1      Incorporated or Principal Place         4     4
                                                                                                                                                    of Business In This State

  2    U.S. Government                 4   Diversity                                           Citizen of Another State            2          2   Incorporated and Principal Place           5         5
         Defendant                           (Indicate Citizenship of Parties in Item III)                                                          of Business In Another State

                                                                                               Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                 Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                  Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                              TORTS                           FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
  110 Insurance                       PERSONAL INJURY                  PERSONAL INJURY            625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                          310 Airplane                    365 Personal Injury -           of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
  130 Miller Act                      315 Airplane Product                Product Liability       690 Other                                28 USC 157                        3729(a))
  140 Negotiable Instrument                Liability                  367 Health Care/                                                                                   400 State Reapportionment
  150 Recovery of Overpayment         320 Assault, Libel &                Pharmaceutical                                               PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment            Slander                        Personal Injury                                               820 Copyrights                   430 Banks and Banking
  151 Medicare Act                    330 Federal Employers’              Product Liability                                             830 Patent                       450 Commerce
  152 Recovery of Defaulted                Liability                  368 Asbestos Personal                                             835 Patent - Abbreviated         460 Deportation
       Student Loans                  340 Marine                          Injury Product                                                    New Drug Application         470 Racketeer Influenced and
       (Excludes Veterans)            345 Marine Product                  Liability                                                     840 Trademark                        Corrupt Organizations
  153 Recovery of Overpayment              Liability                 PERSONAL PROPERTY                     LABOR                        880 Defend Trade Secrets         480 Consumer Credit
      of Veteran’s Benefits           350 Motor Vehicle               370 Other Fraud             710 Fair Labor Standards                  Act of 2016                      (15 USC 1681 or 1692)
  160 Stockholders’ Suits             355 Motor Vehicle               371 Truth in Lending            Act                                                                485 Telephone Consumer
  190 Other Contract                      Product Liability           380 Other Personal          720 Labor/Management                 SOCIAL SECURITY                       Protection Act
  195 Contract Product Liability      360 Other Personal                  Property Damage             Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
  196 Franchise                           Injury                      385 Property Damage         740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                      362 Personal Injury -               Product Liability       751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                          Medical Malpractice                                         Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
      REAL PROPERTY                     CIVIL RIGHTS                 PRISONER PETITIONS           790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
  210 Land Condemnation               440 Other Civil Rights          Habeas Corpus:              791 Employee Retirement                                                893 Environmental Matters
  220 Foreclosure                     441 Voting                      463 Alien Detainee              Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
  230 Rent Lease & Ejectment          442 Employment                  510 Motions to Vacate                                            870 Taxes (U.S. Plaintiff             Act
  240 Torts to Land                   443 Housing/                        Sentence                                                          or Defendant)                896 Arbitration
  245 Tort Product Liability              Accommodations              530 General                                                      871 IRS—Third Party               899 Administrative Procedure
  290 All Other Real Property         445 Amer. w/Disabilities -      535 Death Penalty               IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                          Employment                  Other:                      462 Naturalization Application                                             Agency Decision
                                      446 Amer. w/Disabilities -      540 Mandamus & Other        465 Other Immigration                                                  950 Constitutionality of
                                          Other                       550 Civil Rights                Actions                                                                State Statutes
                                      448 Education                   555 Prison Condition
                                                                      560 Civil Detainee -
                                                                          Conditions of
                                                                          Confinement
V. ORIGIN (Place an “X” in One Box Only)
  1 Original             2 Removed from                     3      Remanded from             4 Reinstated or             5 Transferred from       6 Multidistrict                    8 Multidistrict
    Proceeding             State Court                             Appellate Court             Reopened                    Another District           Litigation -                     Litigation -
                                                                                                                           (specify)                  Transfer                         Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                       Americans with Disabilities Act - Employment, 42 U S C § 12101 et seq
VI. CAUSE OF ACTION                    Brief description of cause:
                                       disability employment discrimination
VII. REQUESTED IN                           CHECK IF THIS IS A CLASS ACTION                       DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                             UNDER RULE 23, F.R.Cv.P.                              > $150,000                                  JURY DEMAND:                    Yes           No
VIII. RELATED CASE(S)
                                           (See instructions):
      IF ANY                                                        JUDGE                                                              DOCKET NUMBER
DATE                                                                  SIGNATURE OF ATTORNEY OF RECORD
10/29/21
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                    APPLYING IFP                                   JUDGE                           MAG. JUDGE
                            Case 2:21-cv-04770-MSG
                                               UNITED Document   1 Filed
                                                      STATES DISTRICT    10/29/21 Page 2 of 10
                                                                      COURT
                                                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                          DESIGNATION FORM
                    (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

                             Brandon Grisoff 158 LANDING DRIVE DEPTFORD TOWNSHIP NJ 08096
Address of Plaintiff: ______________________________________________________________________________________________

Address of Defendant:Seaworld   Parks & Entertainment LLC 6240 SEA HARBOR DRIVE ORLANDO FL 32821
                      ____________________________________________________________________________________________
                                                                         Langhorne, PA
Place of Accident, Incident or Transaction: ___________________________________________________________________________


RELATED CASE, IF ANY:

Case Number: ______________________________                     Judge: _________________________________                    Date Terminated: ______________________

Civil cases are deemed related when Yes is answered to any of the following questions:

1.     Is this case related to property included in an earlier numbered suit pending or within one year                         Yes                      No
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                        Yes                      No
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier                           Yes                      No
       numbered case pending or within one year previously terminated action of this court?

4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                        Yes                      No
       case filed by the same individual?

I certify that, to my knowledge, the within case             is /      is not related to any case now pending or within one year previously terminated action in
this court except as noted above.
           10/29/21                                                                                                                                 82608
DATE: __________________________________                                     Must sign here
                                                             __________________________________________                       ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                                  Attorney I.D. # (if applicable)


CIVIL: (Place a √ in one category only)

A.            Federal Question Cases:                                                      B.    Diversity Jurisdiction Cases:

       1.     Indemnity Contract, Marine Contract, and All Other Contracts                       1.    Insurance Contract and Other Contracts
       2.     FELA                                                                               2.    Airplane Personal Injury
       3.     Jones Act-Personal Injury                                                          3.    Assault, Defamation
       4.     Antitrust                                                                          4.    Marine Personal Injury
       5.     Patent                                                                             5.    Motor Vehicle Personal Injury
       6.     Labor-Management Relations                                                         6.    Other Personal Injury (Please specify): _____________________
       7.     Civil Rights                                                                       7.    Products Liability
       8.     Habeas Corpus                                                                      8.    Products Liability – Asbestos
       9.     Securities Act(s) Cases                                                            9.    All other Diversity Cases
       10.    Social Security Review Cases                                                             (Please specify): ____________________________________________
       11.    All other Federal Question Cases
                                       ADA, 42 U S C § 12101 et seq
              (Please specify): ____________________________________________



                                                                            ARBITRATION CERTIFICATION
                                                  (The effect of this certification is to remove the case from eligibility for arbitration
                Jeffrey Campolongo
I, ____________________________________________, counsel of record or pro se plaintiff, do hereby certify:

              Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
              exceed the sum of $150,000.00 exclusive of interest and costs:

              Relief other than monetary damages is sought.

           10/29/21                                                         ign here i i   e
                                                                                                                                                    82608
DATE: __________________________________                     __________________________________________                       ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                                  Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. 609 (5/2018)
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                                                                                           APPENDIX I
                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                    CASE MANAGEMENT TRACK DESIGNATION FORM

BRANDON GRISOFF                                :               CIVIL ACTION
                                               :
          v.                                   :
                                               :
SEAWORLD PARKS &                               :               NO.
ENTERTAINMENT, LLC                             :
d/b/a SESAME PLACE                             :

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on the
plaintiff and all other parties, a case management track designation form specifying the track to which
that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

(a) Habeas Corpus – Cases brought under 28 U.S.C. §2241 through §2255.                                 ( )

(b) Social Security – Cases requesting review of a decision of the Secretary of Health
    and Human Services denying plaintiff Social Security Benefits                                      ( )

(c) Arbitration – Cases required to be designated for arbitration under Local Civil Rule 53.2.         ( )

(d) Asbestos – Cases involving claims for personal injury or property damage from
   exposure to asbestos.                                                                               ( )

(e) Special Management – Cases that do not fall into tracks (a) through (d) that are
    commonly referred to as complex and that need special or intense management by
    the court. (See reverse side of this form for a detailed explanation of special
    management cases.)                                                                                 ( )

(f) Standard Management – Cases that do not fall into any one of the other tracks.                    (X)



October 29, 2021               JEFFREY CAMPOLONGO
Date                           Attorney-at-law                                 Attorney for Plaintiff


484-434-8930                   484-434-8931 ____                               jcamp@jcamplaw.com
Telephone                      FAX Number                                      E-Mail Address
(Civ. 660) 10/02
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LAW OFFICE OF JEFFREY CAMPOLONGO                       COUNSEL FOR PLAINTIFF
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                        UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA
_______________________________________
BRANDON GRISOFF                         :
158 LANDING DRIVE                       :
DEPTFORD TOWNSHIP NJ 08096              : CIVIL ACTION
       Plaintiff,                       :
                                        :
             v.                         :
                                        : JURY TRIAL DEMANDED
SEAWORLD PARKS &                        :
 ENTERTAINMENT LLC                      :
D/B/A SESAME PLACE                      :
6240 SEA HARBOR DRIVE                   :
ORLANDO FL 32821                        :
       Defendant.                       :
______________________________________ :

                                     COMPLAINT

I.      INTRODUCTION AND SUMMARY

1.   Plaintiff, Brandon Grisoff, (hereinafter referred to as “Mr. Grisoff”) alleges through

     his counsel, the LAW OFFICE OF JEFFREY CAMPOLONGO, that his rights to be free

     from discrimination under Title I of the Americans with Disabilities Act (“ADA”), 42

     U.S.C. § 12101 et seq. and the Pennsylvania Human Relations Act (“PHRA”), 43 P.S.

     § 951 et seq. have been violated.

2.   This case involves Mr. Grisoff and SeaWorld Parks & Entertainment LLC d/b/a

     Sesame Place, (hereinafter referred to as “Defendant SeaWorld”). Mr. Grisoff was

     made a written offer for the position of Director of Human Resources for Defendant

     SeaWorld, but upon inquiring about COVID-19 protocols based on his disability, the
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       job offer was unlawfully rescinded by SeaWorld.

3.     The Defendant’s unlawful disability discrimination has harmed Mr. Grisoff by

       subjecting him to adverse action, including failing to hire him due to his actual and or

       perceived disability and/or record of impairment.

II.    PARTIES

4.     Plaintiff, Brandon Grisoff, is an adult male who resides at the above captioned

       address.

5.     Defendant SeaWorld is a corporation that has a primary business address at the above

       captioned address. At all relevant times, SeaWorld has continuously been an

       employer, a person, and a covered entity within the meaning of 42 U.S.C. § 12111 (2),

       (5) and (7), as well as the Pennsylvania Human Relations Act.

6.     Defendant SeaWorld is an entity engaged in an industry or activity affecting

       commerce which employs 15 or more employees in all of its offices, pursuant to 42

       U.S.C. § 12111 (5)(A).

III.   JURISDICTION and VENUE

7.     Plaintiff incorporates by reference the previous paragraphs as if the same were set

       forth more fully at length herein.

8.     Jurisdiction is conferred upon this Honorable Court by 28 U.S.C. § 1337 relating to

       “any civil action or proceeding arising out of any act of Congress regulating

       commerce,” 28 U.S.C. § 1343(4), and 28 U.S.C. § 1331. This action against Defendant

       SeaWorld is authorized and instituted pursuant to the Americans with Disabilities

       Act, 42 U.S.C. § 12101 et seq.

9.     Plaintiff exhausted his administrative remedies when he submitted a verified Charge

       of Discrimination to the Equal Employment Opportunity Commission (“EEOC”)

       (Charge No. 530-2019-02890) which was dual-filed with the Pennsylvania Human


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      Relations Commission (“PHRC”), on or about October 27, 2020.

10.   On or about August 1, 2021 Plaintiff was issued his “Dismissal and Notice of Rights”

      for his federal claims against Defendant SeaWorld.

11.   On October 27, 2021, it had been one (1) year since the filing of the PHRC complaint,

      thus Plaintiff is entitled to bring his claims pursuant to the PHRA against Defendant

      SeaWorld.

12.   This Court has personal jurisdiction over Defendant SeaWorld because the company

      systematically and continuously engages in substantial interstate commercial conduct

      and business activity in Pennsylvania, and the case arises out of Defendant’s unlawful

      conduct within this Commonwealth.

13.   Venue is appropriately laid in the United States District Court for the Eastern District

      of Pennsylvania inasmuch as Defendant SeaWorld regularly conducts business within

      this District.

IV.   FACTUAL ALLEGATIONS

14.   Plaintiff incorporates by reference the previous paragraphs as if the same were set

      forth more fully at length herein.

15.   On or about July 9, 2020, Mr. Grisoff was offered a position to work as the Director of

      Human Resources for Sea World's Sesame Place Park in Langhorne, PA.

16.   The written offer was made by Sherri Nadeau, Chief Human Resources Officer.

17.   On or about July 10, 2020, Mr. Grisoff inquired about the COVID-19 precautions

      that were being taken in the HR Office, stating that he had an underlying condition

      that put him at higher risk for the virus.

18.   Mr. Grisoff specifically asked Michelle Woods, Talent Acquisition Director, if there

      were opportunities to temporarily accommodate remote working or if other options

      were available to protect himself, with an understanding that there would still be


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      times that would require one to be on the ground in the park.

19.   Ms. Woods called Mr. Grisoff back stating that she spoke with a colleague about this

      role and it was an absolute “boots on the ground” role.

20.   Mr. Grisoff at this time further clarified with her that he was asking for a temporary

      ADA accommodation with respect to his disability putting him at higher risk for

      COVID-19.

21.   Mr. Grisoff is in an unusual situation because the pandemic is the sole reason that his

      disability requires an accommodation.

22.   Having only interviewed via telephone and virtually Mr. Grisoff was unsure of the

      office layout and any social distancing measures in place to protect himself, thus

      making more information valuable to him.

23.   After a phone call with Ms. Nadeau, Ms. Woods called Mr. Grisoff stating that she had

      another similar request and the answer is "absolutely not, no accommodation can be

      made due to the role needing to be in the park at all times."

24.   Mr. Grisoff noted that he would still like to have a better idea of the protective

      measures in place.

25.   During this conversation Mr. Grisoff advised that this was not specifically about

      remote work opportunities but about having a discussion on a temporary ADA

      accommodation for his disability which could include intermittent remote work or

      other precautions.

26.   Mr. Grisoff also stated he was still very interested and as long as he could review with

      his doctors and they are comfortable with him performing in the role, he would be

      good to move forward.

27.   On or about July 17, 2020, Ms. Woods called Mr. Grisoff and stated that SeaWorld

      was rescinding the offer due to two factors: (a) they could not meet Mr. Grisoff’s


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       requirements for increased compensation; and (b) due to Mr. Grisoff’s request for an

       accommodation.

28.    Through the course of Mr. Grisoff’s interview process, the CHRO Sherri Nadeau noted

       that the entire HR team was able to work remotely through the pandemic with little

       to no impact to their performance.

29.    Mr. Grisoff    also interviewed with the Sesame Place Park Director Catherine

       Valeriano who interviewed him from home stating that she was working from home

       even though she had been intermittently on-site to prep for the park's opening.

30.    At no point did Mr. Grisoff ask to work exclusively remote, nor did he ever raise the

       question about remote work opportunities as a temporary accommodation, without

       citing that it was being asked due to his underlying condition.


                                             COUNT I

             FAILURE TO ACCOMMODATE, FAILURE TO HIRE
      AMERICANS WITH DISABILITIES ACT (“ADA”), 42 U.S.C. § 12101 et seq.
        AND THE PENNSYLVANIA HUMAN RELATIONS ACT (“PHRA”),
                          43 P.S. § 951 et seq.

31.    Plaintiff incorporates by reference each allegation contained in the preceding

       paragraphs as if the same were set forth more fully at length herein.

32.    Plaintiff is a qualified individual with a disability in that he had underlying conditions

       that increased his susceptibility and risk of contracting the COVID -19 Virus.

33.    Plaintiff is in a protected class because he has a record of an impairment and/or was

       regarded as having a disability by Defendant.

34.    Plaintiff's disability, at all times material hereto, did not prevent him from performing

       the essential functions of his job.

35.    At all material times Defendant knew, or should have known, of Plaintiff’s need for

       reasonable accommodation due to his disability.


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36.   Defendant has intentionally discriminated by failing to hire Plaintiff because of his

      disability.

37.   Plaintiff believes and avers that Defendant failed to hire him and that the

      aforementioned discrimination was based on his actual disability, record of a

      disability and/or his perceived mental and/or physical disability, protected by the

      Americans with Disabilities Act and the Pennsylvania Human Relations Act.

38.   As a result of the unlawful discrimination by Defendants as described herein, Plaintiff

      suffered pecuniary and non-pecuniary damages, including lost wages and benefits, out

      of pocket expenses, interest, emotional distress, and reasonable attorney’s fees, the

      exact amount of which will be determined at trial.

39.   The above-mentioned acts were willful, wanton, malicious and oppressive and done

      with reckless disregard for Plaintiff’s federally protected rights, therefore justifying

      the imposition of punitive damages (under the ADA).


       WHEREFORE, Plaintiff requests that the Court grant him the following relief
against Defendant:

      (a)    Damages in a sum to exceed $150,000.00 for past and future monetary losses
             as a result of Defendant’s unlawful discrimination;

      (b)    Compensatory damages;

      (c)    Punitive damages (where applicable);

      (d)    Emotional pain and suffering;

      (e)    Reasonable attorneys’ fees;

      (f)    Recoverable costs;

      (g)    Pre and post judgment interest;

      (h)    An allowance to compensate for negative tax consequences;

      (i)    A permanent injunction enjoining Defendant, its directors, officers, employees,
             agents, successors, heirs and assigns, and all persons in active concert or


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             participation with them, from engaging in, ratifying, or refusing to correct,
             employment practices which discriminate in violation of the ADA;

      (j)    Order Defendant to institute and implement training programs, policies,
             practices and programs which provide equal employment opportunities for
             persons with present, past, or perceived disabilities;

      (k)    Order Defendant to remove and expunge, or to cause to be removed and
             expunged, all negative, discriminatory, and/or defamatory memoranda and
             documentation from Plaintiff’s record of employment; and

      (l)    Awarding extraordinary, equitable and/or injunctive relief as permitted by
             law, equity and the federal statutory provisions sued hereunder, pursuant to
             Rules 64 and 65 of the Federal Rules of Civil Procedure.


                                                LAW OFFICE OF JEFFREY CAMPOLONGO


October 29, 2021                          By: [JC3646 - Validation of Signature Code]
Date                                          Jeffrey Campolongo
                                              Identification No: 82608
                                              300 Conshohocken State Road
                                              Suite 180
                                              West Conshohocken, PA 19428
                                              (484) 434-8930
                                              (484) 434-8931 fax

                                                Counsel for Plaintiff




                                          -7-
